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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                CENTRAL DIVISION


CHRIS LORD                                                                   PLAINTIFF
#173493

v.                             Case No: 4:21-cv-00873-JM-PSH


HATTIE PARKER, et al.                                                      DEFENDANTS

                                       JUDGMENT

       Pursuant to the order filed this date, judgment is entered dismissing this case without

prejudice.

       DATED this 10th day of November, 2021.



                                                   UNITED STATES DISTRICT JUDGE
